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 4   Attorney for Defendant
     FREDERICK LAURENS
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 7
 8                        IN THE UNITED STATES DISTRICT COURT
 9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,      )     Cr.S. 12-0198-MCE
                                    )
12               Plaintiff,         )
                                    )     STIPULATION AND ORDER TO
13    v.                            )     MODIFY RELEASE CONDITIONS
                                    )
14   FREDERICK LAURENS,             )
                                    )
15                                  )
                 Defendant.         )
16                                  )
17
18          IT IS HEREBY STIPULATED between the parties through their
19
     respective counsel, MICHAEL ANDERSON, Assistant United States Attorney,
20
     and CARL E. LARSON, attorney for FREDERICK LAURENS, that the
21
     defendant’s conditions of pretrial supervision be modified by striking
22
     the defendant’s required participation in the submitting a drug and/or
23
24   alcohol testing (paragraph’s 8 of the May 16, 2012, release order).

25   See the Amended Conditions of Release, as proposed.         (Exhibit A).

26          Mr. Laurens is completely compliant with all his conditions of

27   release.   Pretrial Services Officer, Renee Basurto, prepared Exhibit
28   “A” and agrees with this modification.
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 1    All other conditions of release shall remain in effect.
 2
 3   DATED: June 17, 2012               Respectfully Submitted,
 4
 5
                                        /s/ Carl E. Larson
 6                                      Attorney for Defendant
                                        FREDERICK LAURENS
 7
 8   DATED:   June 17, 2013             BENJAMIN B. WAGNER
 9                                      United States Attorney

10
                                        /s/ Carl E. Larson for
11                                      MICHAEL ANDERSON
                                        Assistant U.S. Attorney
12
      IT IS SO ORDERED.
13
14
     DATED:   June 19, 2013.
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